
3 Cal.App.2d 43 (1934)
MARGARET BALES, Appellant,
v.
METROPOLITAN CASUALTY INSURANCE COMPANY OF NEW YORK (a Corporation), Respondent.
Civ. No. 1174. 
California Court of Appeals. Fourth Appellate District.  
December 12, 1934.
 Mills, Hunter &amp; Dunn, Ray M. Harris and C. R. Liljestrom for Respondent.
 Marks, J.
 [1] Respondent has moved to dismiss this appeal. No bill of exceptions or clerk's or reporter's transcripts have been filed in this court. It appears from the certificate of the clerk of the court below that judgment was rendered on January 17, 1934; that notice of entry of judgment was served on January 19, 1934; that notice of appeal was filed on February 1, 1934; that on July 30, 1934, the trial court terminated all proceedings for the preparation of a clerk's and a reporter's transcript and the settlement of a bill of exceptions.
 The statutory time within which any record on appeal might be prepared and filed having expired, the appeal must be dismissed. (Stewart v. Marple, 126 Cal.App. 771 [15 PaCal.2d 202].)
 Appeal dismissed.
 Barnard, P. J., and Jennings, J., concurred.
